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 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA

10   ANDREW PAUL LEONARD, an individual; ,Case No.:
11                                        COMPLAINT FOR:
     Plaintiff,
12                                          1. COPYRIGHT
13   v.                                        INFRINGEMENT

14   FACEBOOK, INC., a Delaware corporation;             2. CONTRIBUTORY
15   DAVID STEENBLOCK, individually and                     COPYRIGHT
     doing business as “STEMGEVITY.COM”;                    INFRINGEMENT
16   and DOES 1 through 10,
17                                                     Jury Trial Demanded
     Defendants.
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19
            ANDREW PAUL LEONARD, through counsel, hereby prays to this
20
     honorable Court for relief based on the following:
21
                               JURISDICTION AND VENUE
22
            1.     This action arises under the Copyright Act of 1976, 17 U.S.C. § 101, et
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     seq.
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            2.     This Court has federal question jurisdiction under 28 U.S.C. §§ 1331
25
     and 1338 (a)-(b).
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                                           COMPLAINT
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 1          3.     Venue in this judicial district is proper under 28 U.S.C. § 1391(c) and
 2   1400(a) because this is the judicial district in which a substantial part of the acts and
 3   omissions giving rise to the claims occurred.
 4                                         PARTIES
 5          4.     Plaintiff ANDREW PAUL LEONARD (“LEONARD” or “Plaintiff”)
 6   is an individual residing in the State of New York.
 7          5.     Upon information and belief, Plaintiff alleges that Defendant
 8   FACEBOOK, INC. (“FACEBOOK”) is a Delaware corporation with its primary
 9   place of business located at 1601 Willow Road, Menlo Park, California 94025, and
10   is the primary owner of the website https://www.facebook.com/. Plaintiff further
11   alleges that FACEBOOK maintains one or more offices in Los Angeles, California
12   and/or this judicial district.
13          6.     Upon information and belief, Plaintiff alleges that Defendant DAVID
14   STEENBLOCK (“STEENBLOCK”) is an individual with a medical practice in
15   San Clemente, California and doing business as “Stemgevity,” including owning
16   the trademark “Stemgevity” with the USPTO and operating a website and social
17   media pages for Stemgevity that identifies it as his company.
18          7.     Upon information and belief, Plaintiff alleges that FACEBOOK’s
19   website, www.facebook.com, allows users to publish posts which include images
20   and videos. FACEBOOK receives a financial benefit from and in connection with
21   the posts on its website.
22          8.     Upon information and belief, Plaintiff alleges that FACEBOOK has
23   the right and/or ability to remove posts, advertising material, and/or other content
24   appearing on its website that contains unauthorized copies of copyrighted works.
25   FACEBOOK has a registered agent with the United States Copyright Office for the
26   receipt of Digital Millennium Copyright Act (“DMCA”) takedown notices
27   requesting the removal of such content.
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                                             COMPLAINT
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 1         9.     Upon information and belief, Plaintiff alleges that Defendants DOES
 2   1 through 10 (“DOE Defendants”) (collectively with FACEBOOK and
 3   STEENBLOCK, “Defendants”) are other parties not yet identified who have
 4   infringed Plaintiff’s copyrights, have contributed to the infringement of Plaintiff’s
 5   copyrights, or have engaged in one or more of the wrongful practices alleged
 6   herein. The true names, whether corporate, individual, or otherwise, of DOE
 7   Defendants are presently unknown to Plaintiff, which therefore sues said DOE
 8   Defendants by such fictitious names, and will seek leave to amend this Complaint
 9   to show their true names and capacities when same have been ascertained.
10         10.    Upon information and belief, Plaintiff alleges that at all times relevant
11   hereto, each of the Defendants was the agent, affiliate, officer, director, manager,
12   principal, alter-ego, and/or employee of the remaining Defendants and was at all
13   times acting within the scope of such agency, affiliation, alter-ego relationship,
14   and/or employment; and actively participated in, subsequently ratified, and/or
15   adopted each of the acts or conduct alleged, with full knowledge of all the facts
16   and circumstances, including full knowledge of each violation of Plaintiff’s rights
17   and the damages to Plaintiff proximately caused thereby.
18                  CLAIMS RELATED TO THE SUBJECT WORK
19         11.    Plaintiff authored and owns an original two-dimensional image
20   entitled “Scanning electron Microscopy of Human Bone Marrow Stem Cells 4”
21   (“Subject Work”) that was registered with the United States Copyright Office on
22   December 20, 2007.
23         12.    Prior to the acts complained of herein, Plaintiff began displaying a
24   portfolio of images on the website www.aplmicro.com, which contains the
25   following language: “No images or graphics appearing on this web site may be
26   copied, distributed, displayed, altered or otherwise used without advance written
27   permission and license from Andrew Paul Leonard. To request a license of usage
28   rights please contact info@aplmicro.com”

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                                            COMPLAINT
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 1           13.   Following the publication and display of the Subject Work, users on
 2   FACEBOOK’s website copied, displayed, published, reproduced, transmitted,
 3   distributed, created derivative works of, and/or otherwise used the Subject Work
 4   without license or authorization from LEONARD (collectively, the “Infringing
 5   Uses”). The Infringing Uses were posted on FACEBOOK’s website; hosted on
 6   servers owned, operated, and/or controlled by FACEBOOK; and/or hosted on
 7   networks owned, operated, and/or controlled by FACEBOOK.
 8           14.   LEONARD never licensed, authorized, or consented to the Infringing
 9   Uses.
10           15.   On July 15, August 29, and September 9, 2022, LEONARD sent
11   DMCA takedown notices to FACEBOOK requesting removal of the Infringing
12   Uses from FACEBOOK’s website.
13           16.   Through at least the date of filing this action, FACEBOOK had not
14   removed any of the Infringing Uses from its website.
15           17.   Images of the Subject Work and screen captures of the Infringing
16   Uses from Facebook are set forth hereinbelow:
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                                           COMPLAINT
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 1           Subject Work                                      Infringing Uses
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24                            FIRST CLAIM FOR RELIEF
25         (For Copyright Infringement - Against All Defendants, and Each)
26         18.    Plaintiff incorporates by reference the allegations contained in the
27   preceding paragraphs of this Complaint.
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                                          COMPLAINT
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 1         19.     Defendants, and each of them, had access to the Subject Work,
 2   including through Plaintiff’s website and social media accounts or viewing the
 3   Subject Work via the Internet (e.g., search engines or third-party websites).
 4         20.     Defendants, and each of them, copied, displayed, published,
 5   reproduced, transmitted, distributed, created derivative works of, and/or otherwise
 6   used the Subject Work on FACEBOOK’s website without license, authorization,
 7   or consent from Plaintiff.
 8         21.    As of July 15, 2022 FACEBOOK had actual knowledge, or was aware
 9   of the facts or circumstances, of the Infringing Uses, yet FACEBOOK did not
10   remove, or disable access to, the Infringing Uses for at least two months.
11         22.    Upon information and belief, Plaintiff alleges that FACEBOOK’s
12   knowledge or awareness of the Infringing Uses, in combination with its failure to
13   act expeditiously to remove, or disable access to, the Infringing Uses after
14   obtaining knowledge or awareness of the Infringing Uses, removes the safe harbor
15   afforded to FACEBOOK under 17 U.S.C. § 512, and renders FACEBOOK liable
16   for copyright infringement.
17         23.    Due to Defendants’, and each of their, acts of copyright infringement,
18   Plaintiff has suffered damages in an amount to be established at trial.
19         24.    Due to Defendants’, and each of their, acts of copyright infringement,
20   Defendants, and each of them, have obtained profits they would not have realized
21   but for their infringement of the Subject Work. As such, Plaintiff is entitled to
22   disgorgement of Defendants’, and each of their, profits attributable to the
23   infringement of the Subject Work in an amount to be established at trial.
24         25.    Upon information and belief, Plaintiff alleges that Defendants, and
25   each of them, have committed acts of copyright infringement which were willful,
26   intentional, and malicious.
27   ///
28   ///

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                                            COMPLAINT
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 1                            SECOND CLAIM FOR RELIEF
 2            (For Contributory Copyright Infringement – Against all Defendants, and
 3                                           Each)
 4         26. Plaintiff repeats, re-alleges, and incorporates herein by reference as
 5   though fully set forth, the allegations contained in the preceding paragraphs of this
 6   Complaint.
 7         27. Plaintiff is informed and believes and thereon alleges that Defendants
 8   knowingly induced, participated in, aided and abetted in and profited from the
 9   illegal reproduction and distribution of the Subject Work as alleged hereinabove.
10   Such conduct included, without limitation, publishing works obtained from third
11   parties that Defendants knew, or should have known, were not authorized to be
12   published by Defendants.
13         28. By reason of the Defendants’, and each of their, acts of contributory
14   infringement as alleged above, Plaintiff has suffered and will continue to suffer
15   substantial damages to their business in an amount to be established at trial, as well
16   as additional general and special damages in an amount to be established at trial.
17         29. Due to Defendants’ acts of copyright infringement as alleged herein,
18   Defendants, and each of them, have obtained direct and indirect profits they would
19   not otherwise have realized but for their infringement of Plaintiff’s rights in the
20   Subject Work. As such, Plaintiff is entitled to disgorgement of Defendants’ profits
21   directly and indirectly attributable to Defendants’ infringement of their rights in the
22   Subject Work, in an amount to be established at trial.
23         30. Plaintiff is informed and believes and thereon alleges that Defendants,
24   and each of them, have committed acts of copyright infringement, as alleged
25   above, which were willful, intentional and malicious, which further subjects
26   Defendants, and each of them, to liability for statutory damages under Section
27   504(c)(2) of the Copyright Act in the sum of up to one hundred fifty thousand
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                                            COMPLAINT
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 1   dollars ($150,000.00) per infringement and/or a preclusion from asserting certain
 2   equitable and other defenses.
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 4                                PRAYER FOR RELIEF
 5         Wherefore, Plaintiff prays for judgment as follows:
 6            a. That Defendants, each of them, their respective agents, and anyone
 7               acting in concert with Defendants and/or their agents, be enjoined
 8               from copying, displaying, publishing, reproducing, transmitting,
 9               distributing, creating derivative works of, and/or otherwise using the
10               Subject Work, including an order requiring Defendants, and each of
11               them, to remove the Subject Work from FACEBOOK’s website;
12            b. That Plaintiff be awarded all profits of Defendants, and each of them,
13               attributable to their infringement, plus all losses of Plaintiff, the exact
14               sum to be proven at the time of trial; or, if elected, statutory damages
15               as available under 17 U.S.C. § 504;
16            c. That Plaintiff be awarded its attorneys’ fees under 17 U.S.C. § 505;
17            d. That Plaintiff be awarded pre-judgment interest as allowed by law;
18            e. That Plaintiff be awarded the costs of this action; and
19            f. That Plaintiff be awarded such further legal and equitable relief as the
20               Court deems proper.
21         Plaintiff demands a jury trial on all issues so triable pursuant to Fed. R. Civ.
22   P. 38 and the 7th Amendment to the United States Constitution.
23

24   Dated: October 4, 2022                        DONIGER/BURROUGHS
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26                                          By:    /s/ Stephen M. Doniger
27
                                                   Stephen M. Doniger, Esq.
                                                   Benjamin F. Tookey, Esq.
28                                                 Attorneys for Plaintiff

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                                           COMPLAINT
